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                    IN THE UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF MISSISSIPPI

   RE: Demeka P. Mull                                                   Case No. 18-14888
       Debtor                                                           Chapter 13

                MOTION TO WITHDRAW AS COUNSEL FOR DEBTOR

           Comes now Kevin F. O’Brien, of O’Brien Law Firm, LLC, counsel of record for
   the Debtor, and moves the Court to allow his withdrawal as said counsel due to being
   discharged by the Debtor as evidenced her pro se Motion to Convert [dkt#54] which was
   filed without the counsel, consent or joinder of her lawyer of record.
           WHEREFORE, PREMISES CONSIDERED, MOVANT PRAYS for an order
   allowing him to withdrawal as counsel of record for Debtor and to be relieved from
   further responsibility for this cause.



                                                        Respectfully submitted,

                                                        /s/ Kevin F. O’Brien
                                                        KEVIN F. O’BRIEN, MSB# 10731
                                                        O’Brien Law Firm, LLC
                                                        1890 Goodman Road East, Suite 201
                                                        Southaven, MS. 38671
                                                        (662) 349-3339
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                   IN THE UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF MISSISSIPPI


   RE: Demeka P. Mull                                            CHAPTER 13
   DEBTOR (S)                                                    CASE NO.: 18-14888

                                CERTIFICATE OF SERVICE


           The undersigned individual hereby certifies that he, on this 24th day of January,
   2020, mailed, postage prepaid, first-class, U.S. Mail, or electronically delivered, true and
   correct copies of the “Motion to Withdraw as Counsel for Debtor” to the following
   parties at the addresses listed below:


   Miss. US Trustee
   USTPRegion05.AB.ECF@usdoj.gov

   Locke D. Barkley
   sbeasley@barkley13.com

   Demeka P. Mull
   669 Scarlet Oak St., #204
   Southaven, MS 38671
